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 1                                                                           Hon. Ronald B. Leighton
 2

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 7
                               UNITED STATES DISTRICT COURT
 8                       WESTERN DISTRICT OF WASHINGTON AT TACOMA
 9   DEBORAH LEPINE, individually and on
10   behalf of all others similarly situated,
                                                           No. 3:17-cv-05483-RBL
11                                       Plaintiffs,
                                                           [PROPOSED] ORDER GRANTING
12          v.                                             PLAINTIFF’S UNOPPOSED MOTION
                                                           FOR PRELIMINARY APPROVAL OF
13   PETCO ANIMAL SUPPLIES STORES, INC.,                   CLASS ACTION SETTLEMENT
     a Delaware Corporation,
14
                                      Defendants.
15

16          The above-titled matter came before this Court upon Plaintiff’s Motion for Preliminary
17   Approval of Class Action Settlement. Based upon the memoranda, exhibits, and all the files and
18   proceedings herein, the Court finds as follows:
19          1.      The Court grants preliminary approval of the Settlement based upon the terms set
20   forth in the Settlement Agreement filed herewith and attached hereto to Exhibit 1.
21          2.      The settlement terms set forth in the Settlement Agreement appear to be fair,
22   adequate and reasonable to the Settlement Class, and the Court preliminarily approves the terms
23   of the Settlement Agreement, including:
24                  a.     A Settlement Fund of $875,000;
25                  b.     Enhancement Award to the Named Plaintiff, which shall not exceed
26                         $7,500;

     ORDER GRANTING PLAINTIFF’S UNOPPOSED MOTION FOR                   KELLER ROHRBACK L.L.P.
     PRELIMINARY APPROVAL OF CLASS ACTION SETTLEMENT                      1201 Third Avenue, Suite 3200
                                                                             Seattle, W A 98101-3052
     (3:17-cv-05483-RBL) - 1                                              TELEPHONE: (206) 623-1900
                                                                           FACSIMILE: (206) 623-3384
               Case 3:17-cv-05483-RBL Document 16-1 Filed 07/17/18 Page 2 of 34




 1                    c.     Attorneys’ fees to Settlement Class Counsel, which shall not exceed

 2                           $291,637;

 3                    d.     Costs reimbursed to Settlement Class Counsel, which shall not exceed

 4                           $15,000; and

 5                    e.     Settlement Administration Expenses, which shall not exceed $25,000.

 6             3.     The Court grants the parties’ request for certification of the following Rule 23

 7   Settlement Class for the sole and limited purpose of implementing the terms of the Settlement

 8   Agreement, subject to this Court’s final approval:

 9             All current and former Petco employees employed as pet groomers and/or in
               similar capacities in Washington State between June 22, 2014 and May 1, 2018
10             (the “Settlement Class Period”).
11             4.     The Court preliminarily appoints Plaintiff’s Counsel, HammondLaw P.C., and
12   Keller Rohrback L.L.P. as Settlement Class Counsel, and Plaintiff Deborah LePine as Settlement
13   Class Representative.
14             5.     This Court approves, as to form and content, the Notice of Proposed Class Action
15   Settlement (“Class Notice”), in substantially the form attached to the Settlement Agreement as
16   Exhibit A. The Court approves the procedure for Settlement Class Members to opt out of, or
17   object to, the Settlement as set forth in the Settlement Agreement and the Settlement Class
18   Notice.
19             6.     The Court directs the mailing of the Settlement Class Notice by first class mail to
20   the Settlement Class Members in accordance with the schedule set forth below. The Court finds
21   the dates selected for the mailing and distribution of the Notice, as set forth below, meet the
22   requirements of due process and provide the best notice practicable under the circumstances and
23   shall constitute due and sufficient notice to all persons entitled thereto.
24             7.     The Court confirms Simpluris, Inc. as the Settlement Claims Administrator.
25             8.     The Court adopts the following dates and deadlines:
26

     ORDER GRANTING PLAINTIFF’S UNOPPOSED MOTION FOR                       KELLER ROHRBACK L.L.P.
     PRELIMINARY APPROVAL OF CLASS ACTION SETTLEMENT                           1201 Third Avenue, Suite 3200
                                                                                  Seattle, W A 98101-3052
     (3:17-cv-05483-RBL) - 2                                                  TELEPHONE: (206) 623-1900
                                                                               FACSIMILE: (206) 623-3384
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 1
       Within 7 business days of Preliminary             Deadline for Defendant to provide Settlement
 2     Approval Order                                    Class Data/List to the Settlement
                                                         Administrator
 3
       30 calendar days after the Court enters the       Deadline for Settlement Administrator to mail
 4     Preliminary Approval Order                        Settlement Notice
 5     60 calendar days after the date the Court         Deadline to submit Requests for Exclusion
 6     enters the Preliminary Approval Order             and Objections to the Settlement

 7            9.       Class Counsel shall file a memorandum of points and authorities in support of

 8   their motion for approval of attorneys’ fees and litigation expenses no later than _________, 14

 9   (14) calendar days before the end of the time within which Class Members may object to or opt

10   out of the settlement.

11            10.      Settlement Class Counsel shall file a memorandum of points and authorities in

12   support of the final approval of the Settlement Agreement no later than _________, seven (7)

13   calendar days before the final settlement approval fairness hearing.

14            11.      A final settlement approval fairness hearing on the question of whether the

15   proposed Settlement, attorneys’ fees to Settlement Class Counsel, and the Settlement Class

16   Representative’s Enhancement Award should be finally approved as fair, reasonable and

17   adequate as to the members of the Settlement Class is scheduled in for

18             at                     .

19   Dated: _________________, 2018

20

21
                                                     _______________________________________
22                                                   THE HONORABLE ROBERT B. LEIGHTON
23                                                   UNITED STATES DISTRICT COURT JUDGE

24
     4824-8543-9590, v. 2
25

26

     ORDER GRANTING PLAINTIFF’S UNOPPOSED MOTION FOR                      KELLER ROHRBACK L.L.P.
     PRELIMINARY APPROVAL OF CLASS ACTION SETTLEMENT                         1201 Third Avenue, Suite 3200
                                                                                Seattle, W A 98101-3052
     (3:17-cv-05483-RBL) - 3                                                 TELEPHONE: (206) 623-1900
                                                                              FACSIMILE: (206) 623-3384
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                  EXHIBIT 1
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                               SETTLEMENT AGREEMENT

      This Settlement Agreement (“Settlement Agreement”) is made by and between Plaintiff
Deborah LePine and Defendant Petco Animal Supplies Stores, Inc.

                    DEFINITIONS USED IN SETTLEMENT AGREEMENT

      A.      “Action” means the lawsuit entitled LePine v. Petco Animal Supplies Stores, Inc.,
Case No. 3:17-cv-05483-JBL (W.D. Wash.).

       B.       “Commission Pay Period” means a pay period in which a Settlement Class
Member earned “Commission” (i.e., Petco earnings code 7C) pay during the Settlement Class
Period, as determined by Petco’s payroll records.

      C.    “Court” means the United States District Court for the Western District of
Washington.

        D.     “Defendant” and “Petco” mean Petco Animal Supplies Stores, Inc., the Defendant
in the Action.

       E.     “Defendant’s Counsel” means the law firm Littler Mendelson P.C.

       F.       “Final Approval Date” means the date on which the Final Approval Order is
entered in this matter.

        G.     “Final Approval Hearing Date” means the date set by the Court for the hearing on
final approval of the settlement embodied in this Settlement Agreement.

        H.      “Final Approval Order” means the Court order granting final approval of the
Settlement Agreement as proposed in Exhibit B hereto or such modified terms as may be agreed
to by the Parties in order to obtain preliminary or final approval.

       I.      “Final Judgment” means an order rendered by the Court that enters judgment
disposing of all issues raised in this Action consistent with the Final Approval Order.

       J.     “Named Plaintiff” or “Plaintiff” means Plaintiff Deborah LePine.

        K.      “Net Settlement Class Fund” means the portion of the Settlement Amount to be
distributed to Settlement Class Members after deducting the Court-approved amounts set forth
below in ¶ 8.A-.8.C.

        L.      “Participating Settlement Class Members” means any Settlement Class Member
who is bound by the Final Judgment and receives a distribution as set forth in this Settlement
Agreement. All Settlement Class Members are automatically deemed Participating Settlement
Class Members unless the Settlement Class Member submits a timely request for exclusion as
detailed in the Settlement Class Notice.



Settlement Agreement                                                               Page 1 of 10
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       M.     “Preliminary Approval Date” means the date on which the Court enters its
Preliminary Approval Order.

       N.      “Preliminary Approval Order” means an order rendered by the Court
preliminarily approving this Settlement Agreement as proposed in Exhibit C hereto or such
modified terms as may be agreed to by the Parties in order to obtain preliminary approval.

        O.      “Released Claims” means those claims included in the release of claims set forth
in ¶ 2 of this Settlement Agreement.

        P.     “Released Parties” means Petco, its affiliates, and their respective officers,
directors, employees, agents, and attorneys.

       Q.     “Settlement Administrator” means Simpluris or any other settlement administrator
mutually agreed upon by the Parties.

       R.     “Settlement Amount” means $875,000.00. The Settlement Amount is not subject
to change depending on the number of Settlement Class Members who choose to exclude
themselves or are found not to qualify for Individual Settlement Allocations.

       S.      “Settlement Class” and “Settlement Class Member” means all current and former
Petco employees employed as pet groomers and/or in similar capacities in Washington State
during the Settlement Class Period.

      T.     “Settlement Class Counsel” means the law firms HammondLaw, P.C. and Keller
Rohrback L.L.P.

        U.     “Settlement Class Data” means the information that Defendant shall provide to
the Settlement Administrator as specified below in ¶ 3(b).

        V.      “Settlement Class Notice” means the document, substantially in the form attached
to this Settlement Agreement as Exhibit A, that will be sent to Settlement Class Members
following preliminary approval of the Settlement Agreement. The Settlement Class Notice shall
be personalized for each Settlement Class Member with the number of Commission Pay Periods
attributed to that Settlement Class Member.

       W.    “Settlement Class Period” means the period of time from June 22, 2014 through
May 1, 2018.

       X.      “Settlement Class Representative Award” means the proposed payment specified
below in ¶ 8(b).

         Y.       “Settlement Effective Date” means the date by which the Settlement Agreement
is finally approved as provided in Paragraph 3 below and the Court's Final Judgment becomes
final. For purposes of this subparagraph, the Court's Final Judgment "becomes final" upon the
later of (i) the expiration of the time for filing an appeal from the Final Judgment (whether or not
any objections to the Settlement Agreement are timely filed or otherwise permitted to be filed by



Settlement Agreement                                                                    Page 2 of 10
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the Court), or (ii) if an appeal is timely filed, the date of final affirmance of the Final Judgment
and exhaustion/expiration of all other means of appellate review.

                            TERMS OF SETTLEMENT AGREEMENT

1.     Non-Admission of Liability. The Parties enter into this Settlement Agreement to resolve
       the dispute that has arisen between them and to avoid the burden, expense and risk of
       continued litigation. In entering into this Settlement Agreement, Defendant does not
       admit, and specifically denies, that it has: violated any federal, state, or local law;
       violated any regulations or guidelines promulgated pursuant to any statute or any other
       applicable laws, regulations or legal requirements; breached any contract; or engaged in
       any other unlawful conduct with respect to its employees or any other person or entity.
       Neither this Settlement Agreement, nor any of its terms or provisions, nor any of the
       negotiations connected with it, shall be construed as an admission or concession by
       Defendant of any such violation(s) or failure(s) to comply with any applicable law.

2.     Consideration and Release of Claims. In consideration for Defendant’s payment of the
       Settlement Amount as set forth in this Settlement Agreement, upon the Settlement
       Effective Date the Named Plaintiff and all Participating Settlement Class Members, shall
       fully, finally, and forever release, settle, compromise, relinquish and discharge any and
       all of the Released Parties for any acts that are either alleged in the Action or could have
       been alleged in the Action based on the facts set forth in the Action, including, without
       limitation, any claims for compensatory or exemplary damages, owed wages or
       reimbursement, restitution, losses, penalties, fines, liens, attorneys’ fees, costs, expenses,
       debts, interest, equitable relief (including injunctive or declaratory relief), charge backs,
       or liquidated damages during the Settlement Class Period.

3.     Court Approval Required. This Settlement Agreement is contingent on approval by the
       Court. The Parties shall jointly recommend to the Court that it approve the terms of this
       Settlement Agreement. The Parties shall undertake their best efforts, including all steps
       and efforts contemplated by this Settlement Agreement, and any other steps or efforts
       which may become necessary by order of the Court (unless such order modifies the terms
       of this Settlement Agreement) or otherwise, to carry out this Settlement Agreement,
       including the following:

       A.      Preliminary Approval. Plaintiff shall file a motion for preliminary approval
               seeking the relief presented in Exhibit C hereto. Petco will not oppose the motion.

       B.      Settlement Class Data. Within seven (7) business days of the Preliminary
               Approval Order, Petco shall provide the Settlement Administrator with data in a
               format acceptable to the Settlement Administrator, which shall include each
               putative Settlement Class Member’s name, last known addresses, social security
               number, telephone number(s) (if available), and shall identify each Commission
               Pay Period in which a Settlement Class Member was paid “Commission” pay
               during the Settlement Class Period. The Settlement Administrator shall update
               Settlement Class Data addresses using the National Change of Address database
               and other available resources deemed suitable by the Settlement Administrator,


Settlement Agreement                                                                     Page 3 of 10
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             and, to the extent this process yields an updated address, that updated address
             shall replace the last known address and be treated as the new last known address
             for purposes of this Settlement Agreement and for any subsequent mailings
             required to effectuate the terms of this Settlement Agreement.

      C.     Settlement Class Notice. Within thirty (30) days of entry of the Preliminary
             Approval Order, the Settlement Administrator shall send the Settlement Class
             Notice to each putative Settlement Class Member and provide such other forms of
             notice specified in the Preliminary Approval Order. The Settlement Administrator
             shall conduct a standard skip trace to locate missing Settlement Class Members
             and promptly re-mail the Settlement Class Notice to the correct or updated
             address. The Settlement Administrator will keep Settlement Class Counsel
             informed of any problems that arise in providing the Settlement Class Notice
             and/or locating missing Settlement Class Members.

      D.     CAFA Notice. Defendant shall comply with the Class Action Fairness Act of 2005
             (“CAFA”) and its notice requirements by providing appropriate federal and state
             officials with information about the Settlement Agreement.

      E.     Settlement Class Members’ Right to Exclude Themselves from the Settlement
             Class or Object to the Settlement. As described in the Settlement Class Notice,
             Settlement Class Members may exclude themselves from the Settlement Class or
             object to the Settlement Agreement, by submitting their written request for
             exclusion (opt out) or objection no later than sixty (60) days after the date the
             Court enters the Preliminary Approval Order.

      F.     Final Approval. On the date established in the Preliminary Approval Order,
             Settlement Class Counsel shall file a motion for final approval of the Settlement
             Agreement, an order awarding a Settlement Class Representative Award to
             Plaintiff, and an order awarding fees and costs to Settlement Class Counsel. Petco
             shall not oppose these motions, provided that Plaintiff seeks no more than
             $25,000 as payment to the Settlement Administrator; no more than $7,500 as a
             Settlement Class Representative Award to Plaintiff; and no more than $306,637 as
             payment to Settlement Class Counsel for attorneys’ fees and costs (i.e., no more
             than $291,637 for attorneys’ fees, and no more than $15,000 for costs).

4.    Non-Approval as Basis for Termination of Settlement Agreement. Failure of the Court to
      grant preliminary or final approval of the Settlement Agreement (after reasonable
      opportunity for the Parties to cure such problems as may initially prevent the Court from
      granting such approval) will be grounds for the Parties to terminate this Settlement
      Agreement. In the event that this Settlement Agreement is not approved by the Court,
      fails to become effective, or is reversed, withdrawn or modified by the Court or any other
      court with jurisdiction over the Action, the Settlement Agreement shall become null and
      void ab initio and shall have no bearing on, and shall not be admissible in connection
      with, any further proceedings in this Action. The Court’s determination regarding
      whether and in what amounts to award attorneys’ fees and costs to Settlement Class
      Counsel, and a Settlement Class Representative Award to Plaintiff, shall not be grounds


Settlement Agreement                                                               Page 4 of 10
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      for terminating the Settlement Agreement or otherwise affect the enforceability of the
      Settlement Agreement.

5.    Mutual Full Cooperation. The Parties agree to cooperate fully with each other to
      accomplish the terms of this Settlement Agreement, including but not limited to,
      executing such documents and taking such other action as may reasonably be necessary
      to implement the terms of this Settlement Agreement. The Parties further agree to
      cooperate fully and use their best efforts to obtain the Court’s preliminary and final
      approval of this Settlement Agreement and all the terms herein.

6.    Confidentiality. Plaintiff and Settlement Class Counsel agree to maintain strict
      confidentiality of this Settlement Agreement pending the filing of Plaintiff’s motion for
      preliminary approval of the Settlement Agreement.

7.    Settlement Class Size. This Settlement Agreement is based on the understanding that
      there are 911 Settlement Class Members. In the event that the settlement class size
      increases by more than ten percent (10%) (i.e., by more than 91 Settlement Class
      Members) then the Settlement Amount shall be adjusted upwards, pro rata, for each
      additional Settlement Class Member by the same number of percentage points above 10%
      by which the number of Settlement Class Members exceeds 10% (e.g., if the actual
      number of Settlement Class Members is 12% (109) more than 911, for a total of 1,020,
      then the Settlement Amount of $875,000 shall increase by 2% ($17,500), for a total of
      $892,500).

8.    Settlement Payments. Within seven (7) business days after the Settlement Effective Date,
      Defendant shall deposit the Settlement Amount into a Qualified Settlement Fund
      established by the Settlement Administrator. The Settlement Administrator shall
      distribute these funds only as directed by Settlement Class Counsel and as allowed under
      the Court’s Final Approval Order and Final Judgment. No part of the Settlement Amount
      shall revert to Petco except as provided in ¶ 4 herein. Subject to Court approval, the
      Settlement Amount shall be allocated as follows:

      A.     Attorney’s Fees and Litigation Costs. The Settlement Administrator shall
             distribute to Settlement Class Counsel, within thirty (30) days after the Settlement
             Effective Date, the amount awarded by the Court as compensation for attorneys’
             fees and costs in accordance with the Court’s Final Approval Order and Final
             Judgment.

      B.     Settlement Class Representative Award. The Settlement Administrator shall
             distribute to Plaintiff, within thirty (30) days after the Settlement Effective Date,
             the amount awarded by the Court to Plaintiff as a Settlement Class Representative
             Award.

      C.     Settlement Administration Expenses. At the direction of Settlement Class Counsel,
             the Settlement Administrator shall distribute to itself, within thirty (30) days after
             the Settlement Effective Date, the amount approved by the Court as the
             reasonable expenses of settlement administration, not to exceed $25,000.



Settlement Agreement                                                                  Page 5 of 10
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      D.     Distribution of Net Settlement Class Fund as Individual Allocations. The Net
             Settlement Class Fund is the Settlement Amount less the amount of attorneys’
             fees and costs, Settlement Class Representative Award, and Settlement
             Administrator expenses (i.e., 8.A-8.C above) actually awarded by the Court. The
             Settlement Administrator shall distribute, within thirty (30) days after the
             Settlement Effective Date, the Net Settlement Class Fund to Participating
             Settlement Class Members based on the following formula (“Individual
             Settlement Allocations”): First, each Participating Settlement Class Member shall
             receive a per capita payment of $200; Second, the remaining balance of the Net
             Settlement Fund shall be paid to Participating Settlement Class Members pro rata
             based on the number of Commission Pay Periods attributed to a given Settlement
             Class Member (including any adjustments to the number of Commission Pay
             Periods attributed to an individual Settlement Class Member as provided herein)
             compared to the total combined number of Settlement Class Members’
             Commission Pay Periods (as that total may be adjusted as provided herein). Under
             this formula, if there are 911 Participating Settlement Class Members, each
             Settlement Class Member will receive $200 from the Net Settlement Class Fund,
             and Participating Settlement Class Members who worked Commission Pay
             Periods will receive an additional amount from the Net Settlement Class Fund
             based on their pro rata share of all Participating Settlement Class Members’
             Commission Pay Periods.

      E.     Tax Treatment. For tax and withholding purposes, Individual Settlement
             Allocations shall be treated as follows: 1/2 (50%) of each Individual Settlement
             Allocation distributed to a Participating Settlement Class Member shall be
             deemed to be wages and the Settlement Administrator shall issue appropriate IRS
             Forms W2; and 1/2 (50%) of each Individual Settlement Allocation distributed to
             a Participating Settlement Class Member shall be deemed to be non-wage
             payments in lieu of interest and penalties/exemplary damages and the Settlement
             Administrator shall issue appropriate IRS Forms 1099. Petco shall be responsible
             for paying any matching withholding or other amounts required to be paid by the
             employer of Plaintiff and the members of the Settlement Class.

      F.     Unclaimed Individual Allocations. Participating Settlement Class Members shall
             have ninety (90) days after the date the Individual Settlement Allocation checks
             are mailed by the Settlement Administrator to cash their Individual Settlement
             Allocation checks (the “Settlement Check Cashing Deadline”). Any Individual
             Settlement Allocation check that is not cashed by the Settlement Check Cashing
             Deadline shall become void and subject to a stop payment order. Within sixty (60)
             after the Settlement Check Cashing Deadline, the Settlement Administrator shall
             tender the total combined amount of all uncashed Individual Settlement
             Allocation checks to the Washington State Department of Revenue Unclaimed
             Property Fund to be held for the benefit of individual Settlement Class Members.

9.    Estimated Settlement Timetable. This Settlement Agreement includes numerous
      deadlines and milestones, which are summarized here. These deadlines and milestones
      are not material terms of the Settlement Agreement and may be changed by Court order


Settlement Agreement                                                             Page 6 of 10
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      or agreement of the Parties (with Court permission as appropriate). The Parties shall
      cooperate in order to complete all settlement procedures expeditiously.

     Settlement Class Counsel files motion for              On or before July 17, 2018
     preliminary approval and class notice plan

     Defendant deposits Settlement Amount into              Within 7 business days after
     Qualified Settlement Fund established by the           Settlement Effective Date
     Settlement Administrator and provides the
     Settlement Administrator with Settlement Class
     Data

     Settlement Administrator Mails Settlement Class        Within 30 days after entry of
     Notice                                                 Preliminary Approval Order

     Deadline for Settlement Class Members to file          No later than 60 days after entry of
     written request for exclusion from Settlement Class,   Preliminary Approval Order (or
     or written objection to Settlement Agreement           next business day if deadline falls
                                                            on a weekend or federal holiday)

     Settlement Class Counsel file motions for final        100 days after the entry of the
     approval of Settlement Agreement, award of             Preliminary Approval Order (or
     attorneys’ fees and costs, award of Settlement Class   next business day if deadline falls
     Representative Award, and award of Settlement          on a weekend or federal holiday)
     Administrator expenses

     Settlement Administrator distributes to Settlement     Within 30 days of the Settlement
     Class Counsel any attorneys’ fees and costs awarded    Effective Date
     by the Court;
     Settlement Administrator distributes Individual
     Settlement Allocations to Settlement Class Members
     (with appropriate tax forms);
     Settlement Administrator distributes Settlement
     Class Representative Award to Named Plaintiff;
     Settlement Administrator distributes Settlement
     Administrator expense award to itself as directed by
     Settlement Class Counsel

     Settlement Administrator tenders amount of             Within 150 days of Settlement
     uncashed Individual Settlement Allocation checks to    Effective Date
     Washington State Department of Revenue
     Unclaimed Property Fund




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            10.      Captions and Interpretations. Paragraph titles or captions contained herein are inserted as
                     a matter of convenience and for reference, and in no way define, limit, extend or describe
                     the scope of this Settlement Agreement or any provision hereof. Each term of this
                     Settlement Agreement is contractual and not merely a recital. The Parties hereto agree
                     that the terms and conditions of this Settlement Agreement are the result of lengthy,
                     intensive arms-length negotiations between the Parties facilitated by an experienced
                     employment law mediator and that this Settlement Agreement shall not be construed in
                     favor of or against any Party by reason of the extent to which any Party or his, her or its
                     counsel participated in the drafting of this Settlement Agreement.

            11.      Entire Agreement. This Agreement constitutes the entire and integrated agreement
                     between the Parties with respect to the settlement of the Action, and all other prior and
                     contemporaneous agreements, representations, warranties, or understandings of the
                     parties are superseded and merged into this Settlement Agreement.

            12.      Execution in Counterparts. This Settlement Agreement may be signed in one or more
                     counterparts, including by copies transmitted via facsimile or electronic delivery. Upon a
                     Party’s execution of a counterpart, that counterpart shall be deemed an original, and all
                     signed counterparts shall together constitute one Settlement Agreement. A facsimile
                     signature shall have the same force and effect as the original signature, if and only if it is
                     transmitted from counsel for one party to the other. Such transmissions shall be
                     interpreted as verification by the transmitting counsel that the signature is genuine and
                     that the party signing has authorized and reviewed the agreement. All executed copies of
                     this Settlement Agreement and copies thereof shall have the same force and effect and
                     shall be as legally binding and enforceable as the original.

            13.      Dispute Resolution. In the event of a dispute between the Parties concerning the
                     documentation, execution, implementation, interpretation or administration of this
                     Settlement Agreement, the Parties agree that such a dispute shall be submitted for
                     arbitration to Clifford Freed whose decision shall be final, binding and not subject to
                     further review or appeal of any kind. The Parties shall equally share the costs of any such
                     arbitration proceeding. The Parties shall bear their own attorneys’ fees and costs incurred
                     in such an arbitration proceeding.

                     IT IS SO AGREED:



             Dated:                                          By:
                                                                   Deborah LePine, Plaintiff




            Settlement Agreement                                                                      Page 8 of 10
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                                  HAMMONDLAW, P.C.


 Dated: _07/06/2018
          _ _ _ _ __        By:
                                  Julian Hammond
                                  Attorney for Plaintiffs




                                  LITTLER MENDELSON, P.C.


 Dated:   ]/b /zo/ g        By:    ~F.
                                  Douglasth
                                  Attorney for Defendant




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       UNITED STATES DISTRICT COURT FOR THE WESTERN DISTRICT OF WASHINGTON


    If you worked for Petco as a pet groomer in
    Washington State at any time between June
     22, 2014 and May 1, 2018, you could get a
      payment from a class action settlement.
          A federal court authorized this notice. This is not a solicitation from a lawyer.

•   A settlement of $875,000 has been proposed to pay certain Petco employees in Washington
    State, and to cover certain fees and expenses.

•   The settlement resolves a lawsuit over whether Petco underpaid employees for rest breaks
    and/or meal breaks; it avoids costs and risks to you from continuing the lawsuit; pays money
    to past and present employees; and releases Petco from liability.

•   Court-appointed lawyers for Petco employees will ask the Court for up to $306,000 as fees
    and expenses for investigating the facts, litigating the case, and negotiating the settlement.

•   The two sides disagree on how much money could have been won if the employees won at
    trial; if the employees lost at trial, they would receive nothing.

•   Your legal rights are affected whether you act, or don’t act. Read this notice carefully.


         YOUR LEGAL RIGHTS AND OPTIONS IN THIS SETTLEMENT:
                                    If you do nothing, you will receive a settlement check and
DO NOTHING                          release all claims.

                                    If you exclude yourself from the settlement, you will not
                                    receive a settlement check. You will not release any
EXCLUDE YOURSELF                    claims. You will retain the right to bring a separate lawsuit
                                    against Petco at your own risk and at your own expense.

OBJECT                              Write to the Court about why you don’t like the settlement.


GO TO A HEARING                     Ask to speak in Court about the fairness of the settlement.


•   These rights and options—and the deadlines to exercise them—are explained in this notice.

•   The Court in charge of this case still has to decide whether to approve the settlement. Please
    be patient.


        QUESTIONS? CALL 1-800-000-0000 TOLL FREE, OR VISIT XYZSETTLEMENT.COM
                                                 -1-
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                                 BASIC INFORMATION

1.   Why did I get this notice package?

According to Petco’s records, you might be eligible for payment under the proposed settlement.

The Court sent you this notice because you have a right to know about a proposed settlement of a
class action lawsuit, and about all of your options, before the Court decides whether to approve
the settlement. If the Court approves it and after any objections and appeals are resolved, an
administrator appointed by the Court will make payments to eligible settlement class members
that the settlement allows. You will be informed of the progress of the settlement.

This package explains the lawsuit, the settlement, your legal rights, what benefits are available,
who is eligible for them, and how to get them.

The Court in charge of the case is the United States District Court for the Western District of
Washington, and the case is known as LePine v. Petco Animal Supplies Stores, Inc., Case No.
17-cv-05483-RBL. The people who sued are called Plaintiffs, and the company they sued, Petco
Animal Supplies Stores, Inc. (“Petco”), is called the Defendant.

2.   What is this lawsuit about?

The lawsuit claims that Petco underpaid Washington employees who performed pet grooming
services during the time period June 22, 2014 to May 1, 2018 (the “Class Period”). Specifically,
the lawsuit claims that Washington pet groomers should have been paid separately and apart for
statutory rest periods, but they were not. The lawsuit also claims that Petco failed to provide
those same employees with timely 30-minute meal breaks. Plaintiff sought recovery of unpaid
wages, double damages, interest, and attorneys’ fees and costs. Petco vigorously denies all the
claims and contentions made in the lawsuit and maintains it has fully complied with the law.

3.   Why is this a settlement class action?

In a settlement class action, one or more people called Settlement Class Representatives (in this
case Deborah LePine), sue on behalf of people who have similar claims and then agree to a
proposed settlement for such people (“Settlement Class Members”). One court decides whether
to approve the settlement for all Settlement Class Members (except for those who exclude
themselves from the Settlement Class). U.S. District Judge Ronald B. Leighton is in charge of
this settlement class action.

4.   Why is there a settlement?

The Court did not decide in favor of Plaintiff or Defendant. The Plaintiff thinks she could have
won if she went to trial. The Defendant thinks Plaintiff would not have won anything from a
trial. But there was no trial. Instead, both sides agreed to a settlement. That way, they avoid the


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cost of a trial, and the people affected will get compensation. The Settlement Class
Representative and the attorneys think the settlement is best for all Settlement Class Members.

                          WHO IS IN THE SETTLEMENT

To see if you will get money from this settlement, you first have to decide if you are a Settlement
Class Member.

5.   How do I know if I am part of the settlement?

Judge Leighton decided that everyone who fits this description is a Settlement Class Member: All
individuals employed as pet groomers in the State of Washington by Petco from June 22, 2014
through May 1, 2018.

6.   Are there exceptions to being included?

No. If you fit the description above, you are a Settlement Class Member.

7.   I’m still not sure if I am included.

Petco employment and payroll records identify all Settlement Class Members. If you are unsure
of your status, contact Settlement Class Counsel listed below in section 16 below.

            THE SETTLEMENT BENEFITS—WHAT YOU GET

8.   What does the settlement provide?

Petco has agreed to pay a total of $875,000. This amount will be used to pay for the cost of the
Settlement Class notice and administration in an amount determined by the Court but not to
exceed $25,000, attorneys’ fees and expenses in an amount determined by the Court but not to
exceed $306,637, and a Settlement Class Representative service award in an amount to be
determined by the Court but not to exceed $7,500. After the payment of these amounts, the net
settlement fund will be divided among Settlement Class Members who choose to participate in
the case. Settlement Class Members who exclude themselves from participating in the case (see
section 13 below), will not receive any proceeds from the settlement.

9.   How much will my payment be?

Every Settlement Class Member will automatically receive a minimum $200 settlement
payment. In addition, if you received Commission Pay during a specified time period
covered by the settlement, you are entitled to an additional payment calculated by dividing
the total number of pay periods during which you were paid Commission Pay by the total
number of pay periods during which the entire Settlement Class received Commission Pay.

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The resulting fraction or percentage is your pro-rata share of the remainder of the Net
Settlement Class Fund. Petco’s business records show that you received Commission Pay
during XXX pay periods, meaning that you are entitled to $200 + $XXXX for a total
payment of $XXXX. The entire net settlement fund will be distributed as described above.
                            HOW YOU GET A PAYMENT

10. How can I get a settlement payment?

To qualify for a settlement payment, Petco’s records must show that you were employed as a pet
groomer in the State of Washington between June 22, 2014 and May 1, 2018.

You do not need to file a claim. The settlement administrator will mail a check to your last
known address shown in Petco’s records.

11. When would I get my settlement payment?

The Court will hold a hearing on Month 00, 0000, to decide whether to approve the settlement. If
Judge Leighton approves the settlement, there may be appeals. It’s always uncertain whether
these appeals can be resolved, and resolving them can take time, perhaps more than a year.
Please be patient.

12. What am I giving up to get a payment or stay in the Settlement Class?

Unless you exclude yourself, you are staying in the Settlement Class, and that means that you
can’t sue, continue to sue, or be part of any other lawsuit against Petco about the legal issues in
this case. It also means that all of the Court’s orders will apply to you and legally bind you.

           EXCLUDING YOURSELF FROM THE SETTLEMENT

If you don’t want a payment from this settlement, but you want to keep the right to sue or
continue to sue Petco, at your own risk and expense, about the legal issues in this case, then you
must take steps to get out. This is called excluding yourself—or is sometimes referred to as
opting out of the Settlement Class.

13. How do I get out of the settlement?

To exclude yourself from the settlement, you must send a letter by mail saying that you want to
be excluded from LePine v. Petco Animal Supplies Stores, Inc., Case No. 17-cv-05483-RBL. Be
sure to include your name, address, telephone number, and your signature. You must mail your
exclusion request postmarked no later than Month 00, 0000 to:

                                       XYZ Exclusions
                                       P.O. Box 0000
                                       City, ST 00000-0000

        QUESTIONS? CALL 1-800-000-0000 TOLL FREE, OR VISIT XYZSETTLEMENT.COM
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If you ask to be excluded, you will not get any settlement payment, and you cannot object to the
settlement. You will not be legally bound by anything that happens in this lawsuit. You may be
able to sue (or continue to sue) Petco in the future.

14. If I don’t exclude myself, can I sue Petco for the same thing later?

No. Unless you exclude yourself, you give up any right to sue Petco for the claims that this
settlement resolves. If you have a pending lawsuit speak to your lawyer in that case immediately.
You may have to exclude yourself from this Settlement Class to continue your own lawsuit.
Remember, the exclusion deadline is Month 00, 0000.

15. If I exclude myself, can I get money from this settlement?

No. If you exclude yourself, you will not receive any money from this settlement. But, you may
sue, continue to sue, or be part of a different lawsuit against Petco.

                    THE LAWYERS REPRESENTING YOU

16. Do I have a lawyer in this case?

The Court appointed HammondLaw, P.C. and Keller Rohrback L.L.P. to represent you and other
Settlement Class Members. These lawyers are called Settlement Class Counsel. If you want to be
represented by your own lawyer, you may hire one at your own expense. You can contact
Settlement Class Counsel at:

     HAMMONDLAW, P.C.
     Julian Hammond, Esq.
     1829 Reisterstown Rd., Suite 410
     Baltimore, MD 21208 (310) 601-6766
     jhammond@hammondlawpc.com

     KELLER ROHRBACK, LLP.
     T. David Copley, Esq.
     1201 Third Avenue, Suite 3200
     Seattle, WA 98101 (206) 623-1900
     dcopley@kellerrohrback.com


17. How will the lawyers be paid?

Settlement Class Counsel will ask the Court to approve payment of up to $306,637 to them for
attorneys’ fees and expenses and payment of $7,500 to Deborah LePine for her services as
Settlement Class Representative. The fees would pay Settlement Class Counsel for investigating


       QUESTIONS? CALL 1-800-000-0000 TOLL FREE, OR VISIT XYZSETTLEMENT.COM
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the facts, litigating the case, and negotiating the settlement. The Court may award less than these
amounts.

                       OBJECTING TO THE SETTLEMENT

You can tell the Court that you don’t agree with the settlement or some part of it.

18. How do I tell the Court that I don’t like the settlement?

If you’re a Settlement Class Member, you can object to the settlement if you don’t like any part
of it. You can give reasons why you think the Court should not approve it. The Court will
consider your views. To object, you must send a letter saying that you object to LePine v. Petco
Animal Supplies Stores, Inc., Case No. 17-cv-05483-RBL. Be sure to include your name,
address, telephone number, your signature, and the reasons you object to the settlement. Mail the
objection to the Court and the settlement administrator postmarked no later than Month 00,
0000:

COURT                                                    SETTLEMENT ADMINISTRATOR
Clerk of the Court                                       INSERT
U.S. District Court Western District of Washington
100 Court Street
City, ST 00000-0000

19. What’s the difference between objecting and excluding?

Objecting is simply telling the Court that you don’t like something about the settlement. You can
object only if you stay in the Settlement Class. Excluding yourself is telling the Court that you
don’t want to be part of the Settlement Class. If you exclude yourself, you have no basis to object
because the case no longer affects you.

                      THE COURT’S FAIRNESS HEARING

The Court will hold a hearing to decide whether to approve the settlement. You may attend and
you may ask to speak, but you don’t have to.

20. When and where will the Court decide whether to approve the settlement?

The Court will hold a Fairness Hearing at 9:00 AM on Tuesday, Month 00, 0000, at the United
States District Court for the Western District of Washington, 100 Court Street, City, State, in
Courtroom One. At this hearing the Court will consider whether the settlement is fair,
reasonable, and adequate. If there are objections, the Court will consider them. Judge Leighton
will listen to people who have asked to speak at the hearing. The Court may also decide how
much to pay to Settlement Class Counsel. After the hearing, the Court will decide whether to
approve the settlement. We do not know how long these decisions will take.
        QUESTIONS? CALL 1-800-000-0000 TOLL FREE, OR VISIT XYZSETTLEMENT.COM
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21. Do I have to come to the hearing?

No. Settlement Class Counsel will answer any questions Judge Leighton may have. But, you are
welcome to come at your own expense. If you send an objection, you don’t have to come to
Court to talk about it. As long as you mailed your written objection on time, the Court will
consider it. You may also pay your own lawyer to attend, but it’s not necessary.

22. May I speak at the hearing?

You may ask the Court for permission to speak at the Fairness Hearing. To do so, you must send
a letter saying that it is your “Notice of Intention to Appear in LePine v. Petco Animal Supplies
Stores, Inc., Case No. 17-cv-05483-RBL.” Be sure to include your name, address, telephone
number, and your signature. Your Notice of Intention to Appear must be postmarked no later
than Month 00, 0000, and be sent to the Clerk of the Court and the settlement administrator at
the addresses listed above in section 18. You cannot speak at the hearing if you excluded
yourself.

                              IF YOU DO NOTHING

23. What happens if I do nothing at all?

If you do nothing, you will receive money from the settlement. A check will be mailed to you.

                       GETTING MORE INFORMATION

24. Are there more details about the settlement?

This notice summarizes the proposed settlement. More details are in a Settlement Agreement.
You can get a copy of the Settlement Agreement by contacting HAMMONDLAW, P.C. or
KELLER ROHRBACK, LLP. at the address and number listed above in Section 16, or by
visiting www.XYZsettlement.com.

25. How do I get more information?

You can call 1-800-000-0000 toll free; write to XYZ Settlement, P.O. Box 0000, City ST 00000-
0000; or visit the website at www.XYZsettlement.com, where you will find answers to common
questions about the settlement.



4810-4297-6358, v. 2




          QUESTIONS? CALL 1-800-000-0000 TOLL FREE, OR VISIT XYZSETTLEMENT.COM
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                                                       HONORABLE RONALD B. LEIGHTON
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13                            IN THE UNITED STATES DISTRICT COURT
14                FOR THE WESTERN DISTRICT OF WASHINGTON AT TACOMA
15                                                Case No. 3:17-cv-05483-RBL
     DEBORAH LEPINE, individually and on behalf
     of all others similarly situated,
16
                                                  [PROPOSED] ORDER GRANTING
                 Plaintiff,                       PLAINTIFF’S UNOPPOSED MOTION FOR
17
     vs.                                          FINAL APPROVAL OF CLASS ACTION
18                                                SETTLEMENT
     PETCO ANIMAL SUPPLIES STORES, INC.,
19   a Delaware Corporation,

20               Defendant.
21

22

23

24

25

26   [PROPOSED] ORDER GRANTING                                  HAMMONDLAW, P.C.
     UNOPPOSED MOTION FOR FINAL APPROVAL                       1829 REISTERSTOWN RD., SUITE 410
27   CASE NO. 3:17-cv-05483-RBL                                 BALTIMORE, MD 21208
                                                                Tel: 310-601-6766
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1           The Court, having read and considered all of the papers of the Parties and their counsel,

2    including Plaintiff’s Motion for Final Approval and supporting pleadings filed on XXXX, 2018
3    and Plaintiff’s Motion for Approval of Settlement Class Counsel’s Fees and Costs, and
4    Enhancement Award for Settlement Class Representative, and supporting pleadings filed on
5
     XXX, 2018; and having granted preliminary approval on XXX, 2018 (“Preliminary Approval
6
     Order”); and having previously directed that notice be given to all Settlement Class Members of
7
     preliminary approval of the Settlement Agreement and the final approval hearing, and the right to
8
     be excluded from or object to the settlement, and having received no objections or opposition to
9
     the settlement; and good cause appearing, pursuant to Rule 23(e)(1)(A) of the Federal Rules of
10
     Civil Procedure (“FRCP”),
11
     IT IS HEREBY ORDERED AS FOLLOWS:
12
            1.     Terms used in this Order, other than those defined in this Order, have the meaning
13

14   assigned to them in the Settlement Agreement and the Notice sent to Settlement Class Members.

15          2.     The Court hereby makes final the conditional settlement class certification

16   contained in the Preliminary Approval Order, and thus makes final for purposes of the Settlement

17   Agreement the certification, pursuant to FRCP 23(g)(1)(A), of a settlement class whose members

18   consist of:
19          All current and former Petco employees employed as pet groomers and/or in
            similar capacities in Washington State between June 22, 2014 and May 31, 2018
20
            (the “Settlement Class Period”).
21
            3.     The Court hereby finds that the Settlement Class Notice, as mailed to all
22
     Settlement Class Members, as previously ordered by the Court, fairly and adequately described
23
     the terms of the proposed Settlement Agreement, the manner in which Settlement Class Members
24
     could object to the settlement, and the manner in which Settlement Class Members could opt out
25   [PROPOSED] ORDER GRANTING                                            HAMMONDLAW, P.C.
     UNOPPOSED MOTION FOR FINAL APPROVAL                                 1829 REISTERSTOWN RD., SUITE 410
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1    of the Settlement Class; was the best notice practicable under the circumstances; was valid, due

2    and sufficient notice to all Settlement Class Members; and complied fully with FRCP 23(e)(1)(B),
3    due process, and all other applicable laws. The court further finds that a full and fair opportunity
4    has been afforded to Settlement Class Members to participate in the proceedings convened to
5
     determine whether the proposed Settlement Agreement should be given final approval. The Court
6
     has also finds that Defendant has given all of the notices required by the Class Action Fairness
7
     Act, 28 U.S.C. § 1715.        Accordingly, the Court hereby determines that all Participating
8
     Settlement Class Members are bound by this final Order and shall be deemed to have released any
9
     claims described in Paragraph 2 of the Settlement Agreement (the “Released Claims”).
10
            4.      The Court finds that the Settlement Agreement is fair, reasonable, and adequate as
11
     to the Settlement Class, Plaintiff and Defendant, and is the product of good faith, arm’s-length
12
     negotiations between the Parties, and further, that the Settlement Agreement is consistent with
13

14   public policy, and fully complies with all applicable provisions of law. Accordingly, the Court

15   hereby finally and unconditionally approves the Settlement Agreement pursuant to FRCP

16   23(e)(1), and specifically:

17                  a.      Approves the Settlement Amount of $875,000 as specified in and subject to

18   the terms of the Settlement Agreement;
19                  b.      Approves the distribution of the Net Settlement Class Fund to Participating
20
     Settlement Class Members in the manner specified in and subject to the terms of the Settlement
21
     Agreement;
22
                    c.      Approves the application for Settlement Class Representative Award of
23
     $7,500 to Plaintiff LePine, to be paid from the Settlement Amount, subject to the terms of the
24
     Settlement Agreement;
25   [PROPOSED] ORDER GRANTING                                              HAMMONDLAW, P.C.
     UNOPPOSED MOTION FOR FINAL APPROVAL                                   1829 REISTERSTOWN RD., SUITE 410
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1                   d.     Approves Settlement Class Counsel’s requested fees award of $291,637

2    which is thirty-three percent (33%) of and to be paid from the Settlement Amount subject to the
3    terms of the Settlement Agreement;
4                   e.     Approves Settlement Class Counsel’s request for reimbursement of
5
     litigation expenses of $15,000 to be paid from the Settlement Amount, subject to the terms of the
6
     Settlement Agreement;
7
                    f.     Approves payment to Simpluris, Inc., the Settlement Administrator, of
8
     Settlement Administration Costs as incurred, in the amount of costs and fees actually incurred and
9
     documented to the Parties’ satisfaction, not to exceed $25,000 to be paid from the Settlement
10
     Amount, subject to the terms of the Settlement Agreement; and
11
                    g.     Approves and orders that in all other particulars the Settlement Agreement
12
     be carried out by the Parties and the Settlement Administrator subject to the terms thereof.
13

14          5.      The Court orders that, following the Settlement Effective Date as defined in the

15   Settlement Agreement, the Parties and the Settlement Administrator shall carry out the following

16   implementation schedule for further actions and proceedings:

17    Within 7 business days of Settlement         Deadline for Defendant to deposit the Settlement
      Effective Date                               Amount into a Qualified Settlement Fund
18                                                 established by the Settlement Administrator
      30 calendar days after Settlement            Deadline for Settlement Administrator to pay
19    Effective Date                                   1) Attorneys’ fees and costs to Settlement Class
                                                   Counsel;
20
                                                       2) Settlement Class Representative Award as
21                                                 specified above to the Plaintiff;
                                                       3) Settlement Administration costs as specified
22                                                 above to Simpluris, Inc.; and
                                                       4) Individual Settlement Allocations to all
23                                                 Participating Settlement Class Members

24

25   [PROPOSED] ORDER GRANTING                                              HAMMONDLAW, P.C.
     UNOPPOSED MOTION FOR FINAL APPROVAL                                   1829 REISTERSTOWN RD., SUITE 410
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1     90 days after checks are mailed              Deadline for Settlement Class Members to cash
                                                   settlement checks; uncashed check funds shall be
2                                                  transmitted by the Settlement Administrator to the
                                                   Washington State Department of Revenue
3                                                  Unclaimed Property Fund
4

5
            6.      This action is hereby dismissed with prejudice; provided, however, that without
6
     affecting the finality of this Order, the Court retains exclusive and continuing jurisdiction over the
7
     case for purposes of supervising, implementing, interpreting and enforcing this Order and the
8
     Settlement Agreement, as may become necessary, until all of the terms of the Settlement
9
     Agreement have been fully carried out.
10
            7.      Upon the Settlement Effective Date, Plaintiff and all Participating Settlement Class
11
     Members shall be deemed to have, and by operation of this Order as the Court’s Judgment shall
12
     have, fully, finally, and forever released, dismissed with prejudice, relinquished and discharged
13

14   all of the Released Claims.

15          8.      Upon the Settlement Effective Date, Plaintiff and all Participating Settlement Class

16   Members shall be and hereby are enjoined from filing, initiating or continuing to prosecute any

17   actions, claims, complaints, or proceedings in court, arbitration, with the Washington State

18   Department of Labor & Industries, or with any other agency or entity, with respect to the
19   Released Claims, and they will not and cannot participate in any actions, lawsuits, proceedings,
20   complaints or charges brought individually, by the Washington State Department of Labor &
21
     Industries, or by any other agency, persons or entity in any court, arbitration or before any
22
     administrative body with respect to the Released Claims, nor will they contest or interfere with
23
     efforts by Defendant or by any other released parties to oppose any attempt to bring such
24
     Released Claims against any of them.
25   [PROPOSED] ORDER GRANTING                                                HAMMONDLAW, P.C.
     UNOPPOSED MOTION FOR FINAL APPROVAL                                     1829 REISTERSTOWN RD., SUITE 410
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                                                                              Tel: 310-601-6766
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1
     Presented by:
2
          /s/
3
     Dated this XX day of XXXX.
4

5
     IT IS SO ORDERED, ADJUDGED AND DECREED.
6

7

8    DATED:____________________            ______________________________________
                                           HON. RONALD B. LEIGHTON
9                                          UNITED STATES DISTRICT JUDGE

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25   [PROPOSED] ORDER GRANTING                                 HAMMONDLAW, P.C.
     UNOPPOSED MOTION FOR FINAL APPROVAL                      1829 REISTERSTOWN RD., SUITE 410
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                                                       HONORABLE RONALD B. LEIGHTON
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13                            IN THE UNITED STATES DISTRICT COURT
14                FOR THE WESTERN DISTRICT OF WASHINGTON AT TACOMA
15                                                Case No. 3:17-cv-05483-RBL
     DEBORAH LEPINE, individually and on behalf
     of all others similarly situated,
16
                                                  [PROPOSED] ORDER GRANTING
                 Plaintiff,                       PLAINTIFF’S UNOPPOSED MOTION FOR
17
     vs.                                          PRELIMINARY APPROVAL OF CLASS
18                                                ACTION SETTLEMENT
     PETCO ANIMAL SUPPLIES STORES, INC.,
19   a Delaware Corporation,

20               Defendant.
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26   [PROPOSED] ORDER GRANTING                                            HAMMONDLAW, P.C.
     UNOPPOSED MOTION FOR PRELIMINARY APPROVAL              1829 REISTERSTOWN RD., SUITE 410
27   CASE NO. 3:17-cv-05483-RBL                           BALTIMORE, MD 21208; Tel: 310-601-6766

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 2          The above-titled matter came before this Court upon Plaintiff’s Motion for Preliminary

 3   Approval of Class Action Settlement. Based upon the memoranda, exhibits, and all the files and

 4   proceedings herein, the Court finds as follows:
 5          1.      The Court grants preliminary approval of the Settlement based upon the terms set
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     forth in the Joint Stipulation of Class Action Settlement (“Settlement Agreement”) filed herewith
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     and attached hereto to Exhibit 1.
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            2.      The settlement terms set forth in the Settlement Agreement appear to be fair,
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     adequate and reasonable to the Settlement Class, and the Court preliminarily approves the terms
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     of the Settlement Agreement, including:
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                    a.     A Settlement Fund of $875,000;
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                    b.     Enhancement Award to the Named Plaintiff of $7,500;
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                    c.     The sum of $291,637 as attorneys’ fees to Settlement Class Counsel,
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                           representing 33% of the Maximum Settlement Amount;
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                    d.     The sum of costs awarded to Settlement Class Counsel, which shall not
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                           exceed $15,000; and
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                    e.     The Settlement Administration Expenses, not to exceed $25,000.
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            3.      The Court grants the parties’ request for certification of the following Rule 23
19   Settlement Class for the sole and limited purpose of implementing the terms of the Settlement
20   Agreement, subject to this Court’s final approval:
21          All current and former Petco employees employed as pet groomers and/or in similar
            capacities in Washington State between June 22, 2014 and May 31, 2018 (the “Settlement
22
            Class Period”).
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            4.      The Court preliminarily appoints Plaintiff’s Counsel, HammondLaw P.C., and
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     Keller Rohrback as Settlement Class Counsel, and Plaintiff Deborah LePine as Settlement Class
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     Representative.
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     [PROPOSED] ORDER GRANTING                                               HAMMONDLAW, P.C.
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 2             5.      This Court approves, as to form and content, the Notice of Proposed Class Action

 3   Settlement (“Class Notice”), in substantially the form attached to the Settlement Agreement as

 4   Exhibit A. The Court approves the procedure for Settlement Class Members to opt out of, or
 5   object to, the Settlement as set forth in the Settlement Agreement and the Settlement Class
 6
     Notice.
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               6.      The Court directs the mailing of the Settlement Class Notice by first class mail to
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     the Settlement Class Members in accordance with the schedule set forth below. The Court finds
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10   the dates selected for the mailing and distribution of the Notice, as set forth below, meet the

11   requirements of due process and provide the best notice practicable under the circumstances and

12   shall constitute due and sufficient notice to all persons entitled thereto.
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               7.      The Court confirms Simpluris, Inc. as the Settlement Claims Administrator
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               8.      The Court adopts the following dates and deadlines:
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      Within 7 business days of Preliminary               Deadline for Defendant to provide Settlement
16    Approval Order                                      Class Data/List to the Settlement Administrator

17    30 calendar days after Defendant provides the       Deadline for Settlement Administrator to mail
18    Settlement Class Data/List to the Settlement        Settlement Notice
      Administrator
19    60 calendar days after the date the Court          Deadline to submit Requests for Exclusion and
      enters the Preliminary Approval Order              Objections to the Settlement
20
21
               9.      Class Counsel shall file a memorandum of points and authorities in support of their
22
     motion for approval of attorneys’ fees and litigation expenses no later than _________, 14 (14)
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     calendar days before the end of the time within which Class Members may object to or opt out of
24

25   the settlement.

26             10.     Settlement Class Counsel shall file a memorandum of points and authorities in

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28   [PROPOSED] ORDER GRANTING                                                   HAMMONDLAW, P.C.
     UNOPPOSED MOTION FOR PRELIMINARY APPROVAL                     1829 REISTERSTOWN RD., SUITE 410
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 2   support of the final approval of the Settlement Agreement no later than _________, seven (7)

 3   calendar days before the final settlement approval fairness hearing.

 4          11.      A final settlement approval fairness hearing on the question of whether the proposed
 5
     Settlement, attorneys’ fees to Settlement Class Counsel, and the Settlement Class Representative’s
 6
     Enhancement Award should be finally approved as fair, reasonable and adequate as to the members
 7
     of the Settlement Class is scheduled in for                                 at                    .
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 9
     Presented by:
10
          /s/
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     Dated this ___ day of .
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15   _______________________________________
     HON. RONALD B. LEIGHTON
16   UNITED STATES DISTRICT JUDGE
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28   [PROPOSED] ORDER GRANTING                                                HAMMONDLAW, P.C.
     UNOPPOSED MOTION FOR PRELIMINARY APPROVAL                  1829 REISTERSTOWN RD., SUITE 410
     CASE NO. 3:17-cv-05483-RBL                               BALTIMORE, MD 21208; Tel: 310-601-6766
